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          Please see attached affidavit.

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                                                                         .s. Justin Palmerton
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                            Complaint Attachment
               Statement of Facts Constituting the Offense

                             [18 U.S.C. § 1349]

        Beginning in or around April 2020 and continuing through at

least in or around July 2020, in Los Angeles County, within the

Central District of California, and elsewhere, defendant ARTUR

AYVAZYAN, also known as “Arthur Ayvazyan” (“A. AYVAYZAN”), and

defendant TAMARA DADYAN (“DADYAN”), together with others known

and unknown, conspired to commit wire fraud, in violation of

Title 18, United States Code, Section 1343, and bank fraud in

violation Title 18, United States Code, Section 1344.             The

objects of the conspiracy were carried out, and to be carried

out, in substance as follows:

        Defendants A. AYVAZYAN and DADYAN, and their co-

conspirators, would apply for Paycheck Protection Program

(“PPP”) and Economic Injury Disaster Loan Program (“EIDL”)

loans.     Defendants A. AYVAZYAN and DADYAN, and their co-

conspirators, would submit false and fictitious documents in

support of the PPP and EIDL loan applications.            Defendants A.

AYVAZYAN and DADYAN, and their co-conspirators, would direct

that the PPP and EIDL loan proceeds be deposited into bank

accounts that defendants A. AYVAZYAN and DADYAN, and their co-

conspirators, controlled.         Defendants A. AYVAYZAN and DADYAN,

and their co-conspirators, would use the fraudulently obtained

PPP and EIDL loan proceeds for their own personal benefit,

including for expenses prohibited under the requirements of the

PPP and EIDL programs.
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                                 AFFIDAVIT
        I, Justin Palmerton, being duly sworn, declare and state as

follows:

                             I. INTRODUCTION
        1.    I am a Special Agent with the Federal Bureau of

Investigation (“FBI”) and have been so employed since January

2018.     I am currently assigned to a Los Angeles Field Division

White Collar Crimes Squad, which is responsible for

investigating complex financial crimes.         Prior to being employed

by the FBI as a Special Agent, I was employed as a Certified

Public Accountant at a public accounting firm.         My roles and

responsibilities included financial statement audits, tax return

preparation and accounting consulting work.

        2.    Since becoming an FBI Special Agent in 2018, I have

received 21 weeks of formal training at the FBI Training Academy

in Quantico, Virginia.      During the time I have been employed by

the FBI, I have participated in investigations relating to wire

fraud, mail fraud, and various types of complex financial

crimes.       I have participated in many aspects of criminal

investigations including reviewing evidence, analyzing financial

documents, conducting physical and electronic surveillance,

working with informants, and executing search and arrest

warrants.

                         II.PURPOSE OF AFFIDAVIT

        3.    This affidavit is made in support of a criminal

complaint against, and arrest warrants for, ARTUR AYVAZYAN (born

1980), also known as “Arthur Ayvazyan” (“A. AYVAZYAN”), and
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TAMARA DADYAN (born 1981) (“DADYAN”) for violations of 18 U.S.C.

§ 1349 (Conspiracy to Commit Bank and Wire Fraud).

     4.     The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

warrants and does not purport to set forth all of my knowledge

of or investigation into this matter.        Unless specifically

indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only.

                    III. SUMMARY OF PROBABLE CAUSE
     5.     Beginning in or around April 2020 and continuing

through at least in or around July 2020, A. AYVAZYAN and DADYAN,

who are married and reside together at Address 1, submitted

fraudulent applications through various lenders and the Small

Business Administration (“SBA”) to obtain disaster relief loans

authorized by the Coronavirus Aid, Relief, and Economic Security
(“CARES”) Act.    A. AYVAZYAN and DADYAN directed the fraudulently

obtained disaster relief loan proceeds to accounts that they

owned and/or controlled.     A. AYVAZYAN and DADYAN improperly used

those funds for their own personal benefit rather than for the

business expenses for which the loan applications certified they

would be used.    A. AYVAZYAN and DADYAN also conspired with

Richard Ayvazyan (“R. Ayvazyan”) and Marietta Terabelian

(“Terabelian”), who were previously charged with violation of 18

U.S.C. § 1349 (Conspiracy to Commit Wire and Bank Fraud), as


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described in the criminal complaint and supporting affidavit,

which was sworn and signed on October 20, 2020, in United States
v. Ayvazyan et al, No. 2:20-MJ-5081 (the “Terabelian

Complaint”).   As further described below and in the Terabelian

Complaint, the government’s investigation has revealed that A.

AYVAYZAN and DADYAN directed at least some of the fraudulently

obtained disaster relief loan proceeds to R. Ayvazyan and

Terabelian, who are married, to assist with the purchase of at

least one residential property - Residential Property 1 – for

$3,250,000.    R. Ayvazyan is A. AYVAZYAN’s brother and Terabelian

is A. AYVAZYAN’s sister-in-law.       Using disaster relief loan

proceeds for an individual’s personal benefit, including as part

of a down payment on a residence, is also fraudulent and

violates the requirements for these programs.

                   IV.STATEMENT OF PROBABLE CAUSE
     6.   Based on witness interviews I have conducted, my

review of documents obtained from third parties, reports of

interviews conducted by other law enforcement officers,

conversations with other law enforcement officers, and publicly

filed documents, I know the following:

     A.   The Paycheck Protection Program (“PPP”)
     7.   The CARES Act is a federal law enacted in or around

March 2020 and designed to provide emergency financial

assistance to the millions of Americans who are suffering the

economic effects caused by the COVID-19 pandemic.          One source of

relief provided by the CARES Act was the authorization of up to

$349 billion in forgivable loans to small businesses for job


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retention and certain other expenses, through the PPP.          In or

around April 2020, Congress authorized over $300 billion in

additional PPP funding.

     8.    In order to obtain a PPP loan, a qualifying business

must submit a PPP loan application, which is signed by an

authorized representative of the business.        The PPP loan

application requires the business (through its authorized

representative) to acknowledge the program rules and make

certain affirmative certifications in order to be eligible to

obtain the PPP loan.     In the PPP loan application, the small

business (through its authorized representative) must state,

among other things, its: (a) average monthly payroll expenses;

and (b) number of employees.      These figures are used to

calculate the amount of money the small business is eligible to

receive under the PPP.     In addition, businesses applying for a

PPP loan must provide documentation showing their payroll

expenses.

     9.    A PPP loan application must be processed by a

participating financial institution (the lender).          If a PPP loan

application is approved, the participating financial institution

funds the PPP loan using its own monies, which are 100%

guaranteed by the SBA.     Data from the application, including

information about the borrower, the total amount of the loan,

and the listed number of employees, is transmitted by the lender

to the SBA in the course of processing the loan.

     10. PPP loan proceeds must be used by the business on

certain permissible expenses—payroll costs, interest on


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mortgages, rent, and utilities.       The PPP allows the interest and

principal on the PPP loan to be entirely forgiven if the

business spends the loan proceeds on these expense items within

a designated period of time and uses a certain percentage of the

PPP loan proceeds on payroll expenses.

     B.   The Economic Injury Disaster Loan Program (“EIDL”)
     11. The EIDL program is an SBA program that provides low-

interest financing to small businesses, renters, and homeowners

in regions affected by declared disasters.

     12. The CARES Act authorized the SBA to provide EIDLs of

up to $2 million to eligible small businesses experiencing

substantial financial disruption due to the COVID-19 pandemic.               

     13. In order to obtain an EIDL and advance, a qualifying

business must submit an application to the SBA and provide

information about its operations, such as the number of

employees, gross revenues for the 12-month period preceding the

disaster, and cost of goods sold in the 12-month period

preceding the disaster.     In the case of EIDLs for COVID-19

relief, the 12-month period was that preceding January 31, 2020.

The applicant must also certify that all of the information in

the application is true and correct to the best of the

applicant’s knowledge.

     14. EIDL applications are submitted directly to the SBA

and processed by the agency with support from a government

contractor.   The amount of the loan, if the application is

approved, is determined based, in part, on the information

provided by the application about employment, revenue, and cost


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of goods, as described above.      Any funds issued under an EIDL or

advance are issued directly by the SBA.        EIDL funds can be used

for payroll expenses, sick leave, production costs, and business

obligations, such as debts, rent, and mortgage payments.           If the

applicant also obtains a loan under the PPP, the EIDL funds

cannot be used for the same purpose as the PPP funds.

     C.    Fraudulent PPP Loan Application Submitted on Behalf of
            Allstate Towing
     15. Based on my review of loan documents provided by

Lender 1, which is an FDIC-insured financial institution, I know

that on or about May 2, 2020, Lender 1 received a PPP loan

application in the name of Allstate Towing and Transport LLC

(“Allstate Towing”) seeking a PPP loan in the amount of

$124,000.   The application was submitted in the name of A.

AYVAZYAN, who described himself as a Director of Allstate

Towing.    A. AYVAZYAN listed Address 1 as his residential

address.    Based on my review of identity documents, open source

research, and surveillance conducted by federal agents, A.

AYVAZYAN currently resides at Address 1 with his wife, DADYAN.

     16. Based on my review of loan documents provided by

Lender 1, A. AYVAZYAN completed and signed a PPP Borrower

Application Form on behalf of Allstate Towing.         The PPP Borrower

Application Form represented that Allstate Towing had 11

employees, that its average monthly payroll was $49,600, and

that the purpose of the PPP loan was to cover its payroll.

     17. A. AYVAZYAN made several certifications, including

that Allstate Towing “was in operation on February 15, 2020 and



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had employees for whom it paid salaries and payroll taxes or

paid independent contractors.”

     18. Based on my review of loan documents provided by

Lender 1, A. AYVAZYAN submitted several documents in support of

Allstate Towing’s PPP loan application, including:

           a.   IRS Form 940 for 2019, in which he represented

that Allstate Towing had paid $546,000 to its employees in 2019.

On the form, A. AYVAZYAN listed himself as Allstate Towing’s

owner.

           b.   IRS Form 941 for the first quarter of 2020, in

which he represented that Allstate Towing had paid $136,500 to

its employees. On the form, A. AYVAZYAN again listed himself as

Allstate Towing’s owner.

     19. Allstate Towing’s PPP loan application contained

materially false and misleading statements, including, but not

limited to, that Allstate Towing had 11 employees.          A. AYVAZYAN

also falsely certified that, on February 15, 2020, Allstate

Towing had employees for whom it paid salaries and payroll taxes

or paid independent contractors.        I reviewed records provided by

the California Employment Development Department (“CA EDD”) and

learned that there were no records of Allstate Towing having any

employees, for the period January 2019 to October 5, 2020.

     20. In addition, the IRS Forms 940 and 941 that A.

AYVAZYAN submitted with the Allstate Towing PPP application

appear to be fraudulent.     The IRS has confirmed that these

returns were not filed with the IRS.       In fact, Allstate Towing




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had not filed employment tax or federal income tax returns with

the IRS in 2019 or 2020.

     21. Based on my review of loan documents provided by

Lender 1, I know that it approved Allstate Towing’s PPP

application and funded the loan.        According to records provided

by Lender 1 and Financial Institution 1, on or about May 5,

2020, Lender 1 transferred via interstate wire $124,000 to a

Financial Institution 1 account ending 5135 in the name of

Allstate Towing, for which A. AYVAZYAN was the sole signatory.

     22. Based on my review of records provided by Financial

Institution 2, on May 9, 2020, A. AYVAZYAN opened Financial

Institution 2 account ending 7695 in the name of Allstate

Towing.    I know that A. AYVAZYAN was the sole signatory.         On or

around May 21, 2020, A. AYVAZYAN transferred via interstate wire

$80,000 from Allstate Towing’s Financial Institution 1 account

ending 5135 to Allstate Towing’s Financial Institution 2 account

ending 7695.   The description of the wire stated that it was a

“Business S Transfer for Payroll Payroll.”        At the time A.

AVAZYAN transferred the fraudulently obtained PPP loan proceeds,

Financial Institution 2 account ending 7695 had only $5,300 on

deposit.

     23. A. AYVAZYAN did not use the funds for payroll, as he

had represented in the PPP loan application he submitted to

Lender 1.   Based on my review of records provided by Financial

Institution 2, I know that, on or about June 3, 2020,

A. AYVAZYAN transferred via interstate wire $93,000 (which

included the $80,000 in fraudulently obtained PPP loan proceeds)


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from Allstate Towing’s Financial Institution 2 account ending

7695 to Encore Escrow, Inc. for “Escrow Number 16951-JP. Richard

Ayvaz//an [sic].”    I reviewed records provided by Encore Escrow,

Inc. and determined that the $93,000 wired from Financial

Institution 2 account ending 7365 went into an escrow account to

fund a portion of a down-payment on the purchase of Residential

Property 1 in the name of R. Ayvazyan and Terabelian.          The

purchase price of this property was $3,250,000.

     24. Using disaster relief loan proceeds for an

individual’s personal benefit, including as part of a down

payment on a residence, is fraudulent and violates the

requirements for PPP loans.

     D.   Fraudulent EIDL Loan Application Submitted on Behalf
           of Allstate Towing
     25. Based on my review of information provided by the SBA,

the SBA received an application in the name of Allstate Towing

seeking an EIDL loan in the amount of $150,000.         The application

was electronically submitted in the name of A. AYVAZYAN via the

SBA’s online portal.     In the application, A. AYVAZYAN listed

Address 1, his residential address, as Allstate Towing’s

business address.

     26. In the application, A. AYVAYZAN represented that

Allstate Towing had 12 employees.       As described above in

paragraphs 19-20, evidence gathered in the government’s

investigation revealed that this statement is false.

     27. The SBA approved Allstate Towing’s application and

funded the loan.    On or about July 13, 2020, the SBA transferred



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via interstate wire $149,900 to Allstate Towing’s Financial

Institution 2 account ending 7695, for which A. AYVAZYAN is the

sole signatory.

     E.   Fraudulent PPP Loan Applications Submitted on Behalf
           of Secureline Realty
     28. The government’s investigation revealed that two PPP

applications were submitted to FDIC-insured financial

institutions on behalf of Secureline Realty and Funding, Inc.

(“Secureline Realty”).

     29. Based on my review of loan documents provided by

Lender 2, which is an FDIC-insured financial institution, I know

that on or about April 22, 2020, Lender 2 received a PPP loan

application in the name of Secureline Realty, seeking a PPP loan

in the amount of $122,838.      The application was submitted in the

name of DADYAN, who purported to be Secureline Realty’s owner.

DADYAN listed Address 1 as Secureline Realty’s business address

and her residential address.

     30. Based on my review of loan documents provided by

Lender 3, which is an FDIC-insured financial institution, I know

that on or about May 9, 2020, Lender 3 also received a PPP loan

application in the name of Secureline Realty, seeking a PPP loan

in the amount of $137,500.      The application was submitted in the

name of DADYAN, who purported to be Secureline Realty’s owner.

DADYAN listed Address 1 as Secureline Realty’s business address

and her residential address.

     31. Based on my review of loan documents provided by

Lender 2 and Lender 3, DADYAN completed and signed a PPP



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Borrower Application Forms on behalf of Secureline Realty.           Both

PPP Borrower Application Forms represented that Secureline

Realty had 8 employees and that the purpose of the PPP loan was

to cover its payroll.

        32. DADYAN made several certifications in both

applications, including that Secureline Realty “was in operation

on February 15, 2020 and had employees for whom it paid salaries

and payroll taxes or paid independent contractors.”

        33. DADYAN also certified that she was not the owner of

any other business and that she did not manage any other

business.

        34. In addition, DADYAN submitted several documents in

support of Secureline Realty’s PPP loan application to Lender 2,

including:

             a.   IRS Form 940 for 2019, in which she represented

that Secureline Realty had paid $589,623 to its employees in

2019.    On the form, DADYAN listed her residential address as

Secureline Realty’s business address.

             b.   IRS Form 941 for the first quarter of 2020, in

which she represented that Secureline Realty had paid $151,842

to its employees.     On the form, DADYAN again listed her

residential address as Secureline Realty’s business address.

             c.   A payroll report purported to have been prepared

using “Gusto,” which represented that, in 2019, Secureline

Realty had 8 employees and average monthly payroll costs of

$52,075.




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        35. The government’s investigation has revealed that both

Secureline Realty PPP loan applications contained materially

false and misleading statements, including, but not limited to,

that Secureline Realty had 8 employees.        DADYAN also falsely

certified that, on February 15, 2020, Secureline Realty had

employees for whom it paid salaries and payroll taxes or paid

independent contractors.     I reviewed records provided by the CA

EDD and learned that there were no records of Secureline Realty

having any employees, for the period January 2019 to October 5,

2020.

        36. In addition, the IRS Forms 940 and 941 that DADYAN

submitted with the Secureline Realty PPP loan application to

Lender 2 appear to be fraudulent.        The IRS has confirmed that

these returns were not filed with the IRS.        In fact, Secureline

Realty had not filed employment tax or federal income tax

returns with the IRS in 2019 or 2020.

        37. In addition, on the PPP application to Lender 2,

Secureline Realty is listed as having the Employer

Identification Number (“EIN”) “XX-XXXXXXX”; however, on the PPP

application to Lender 3, Secureline Realty represents the EIN as

“XX-XXXXXXX”.    Records from the IRS revealed that EIN XX-XXXXXXX

is invalid.    Based on my training and experience, individuals

utilize different EIN numbers when submitting fraudulent

applications for multiple PPP and EIDL loans in order to avoid

having the applications flagged as duplicative and therefore

increase the likelihood they are approved and funded.




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     38. DADYAN’s representation that she was not the owner of

any other business and did not manage any other business, was

also false and misleading.      In truth, DADYAN owned or controlled

at least two other companies that also applied for disaster

relief loans, including Green Label Nutrienrs (“Green Label”),

for which she listed herself as owner, and ABC Realty Advisors,

Inc. (“ABC Realty”), for which she was listed as President.

Green Label and ABC Realty both had applied separately for and

received hundreds of thousands of dollars in disaster relief

loan funds.   DADYAN’s false and misleading representation had

the effect of concealing her ownership or control of these

companies and their receipt of these funds.

     39. Based on my review of records provided by Lender 2, I

know that it approved Secureline Realty’s application and funded

the loan.   On or about May 7, 2020, Lender 2 transferred via

interstate wire $122,838 to a Financial Institution 3 bank

account ending 1754 in the name of Secureline Realty.          I know

that DADYAN is the sole signatory for this account.          At the time

Lender 2 transferred the fraudulently obtained PPP loan

proceeds, the Financial Institution 3 account ending 1754 had

only $24.74 on deposit.

     40. Records provided by Financial Institution 3 showed

that the $122,838 in PPP loan proceeds wired to Financial

Institution 3 account ending 1754, were not used to pay

employees through a payroll processor or otherwise, but were

withdrawn by DADYAN.     Specifically, on or about June 12, 2020,

DADYAN made an in-branch withdrawal in the amount of $120,010,


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the entirety of the withdrawal appeared to consist of PPP funds.

Additionally, I reviewed the bank records from January 2020 to

July 31, 2020 and found no evidence that Secureline Realty had

employees for whom it paid wages.

     41. Based on my review of records provided by Lender 3, I

know that it approved Secureline Realty’s application and funded

the loan.   On or about May 11, 2020, Lender 3 transferred via

interstate wire $137,500 to a Financial Institution 4 account

ending 8935 in the name of Secureline Realty.         At the time

Lender 3 transferred the fraudulently obtained PPP loan

proceeds, the Financial Institution 4 account ending 8935 had

only $123.35 on deposit.

     42. Records provided by Financial Institution 4 showed

that the $137,500 in PPP loan proceeds wired to Financial

Institution 4 account ending in 8935, were not used to pay

employees through a payroll processor or otherwise, but were

withdrawn by DADYAN.     Specifically, on or about May 26, 2020, a

check for $136,000, addressed to “Tamara Dadyan or ABC Realty

Advisors Inc.”, was drawn on the account for “Payroll.”           The

entirety of the check appears to have been derived from

fraudulently obtained PPP funds.         Additionally, I reviewed the

bank records from January 2020 to July 31, 2020 and found no

evidence that Secureline Realty had employees for whom it paid

wages.

     43. Based on my review of records provided by Financial

Institution 5, I know that on or about May 27, 2020, $136,000

was deposited into Financial Institution 5 account ending 8366


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in the name of ABC Realty Advisors, Inc. I know that DADYAN is

the sole signatory on this account. At the time DADYAN deposited

the fraudulently obtained PPP loan proceeds, Financial

Institution 5 account ending 8366 had only $2,110.23 on deposit.

     44. I know that on or about June 12, 2020, $120,000 was

deposited into Financial Institution 5 account ending 8366.

     45. There is probable cause to believe that the May 27,

2020 and June 12, 2020 deposits in the Financial Institution 5

account are the fraudulently obtained disaster relief loan funds

withdrawn from the Financial Institution 4 account ending 8935

on or about May 26, 2020 and the Financial Institution 3 account

ending 1754 on or about June 12, 2020, respectively.

     46. Based on my review of records provided by Financial

Institution 5, I know that, on or about June 17, 2020, DADYAN

transferred $200,000 from Financial Institution 5 account ending

8366, to Financial Institution 2 account ending 4043 in the name

of Inception Ventures Inc.      Based on records provided by

Financial Institution 2, I know that R. Ayvazyan is the sole

signatory for account ending 4043.

     47. Records provided by Financial Institution 2 show that

on or about June 22, 2020, R. Ayvazyan transferred via

interstate wire $435,000 ($200,000 of which were the SBA funds

provided by DADYAN) to an account owned by Encore Escrow, Inc.

I reviewed records provided by Encore Escrow and determined

these funds were used to fund a portion of a down-payment on the

purchase of Residential Property 1 in the name of R. Ayvazyan

and Terabelian.


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     F.     Fraudulent PPP Loan Applications Submitted on Behalf
             of ABC Realty
     48. Based on my review of loan documents provided by

Lender 4, which is an FDIC-insured financial institution, I know

that on or about April 16, 2020, Lender 4 received a PPP loan

application in the name of ABC Realty, seeking a PPP loan in the

amount of $117,938.     The application was submitted by an

individual purporting to be Person 1, who is DADYAN’s brother.

     49. The application represented that ABC Realty had 8

employees and that the purpose of the PPP loan was to cover its

payroll.

     50. The application certified that ABC Realty “was in

operation on February 15, 2020 and had employees for whom it

paid salaries and payroll taxes or paid independent

contractors.”

     51. The application also certified that DADYAN, the owner,

was not the owner of any other business and that she did not

manage any owner business.

     52. In addition, several documents were submitted in

support of ABC Realty’s PPP loan application to Lender 4,

including:

             a.   IRS Form 940 for 2019, in which it was

represented that ABC Realty had paid $589,623 to its employees

in 2019.

             b.   IRS Form 941 for the first quarter of 2020, in

which it was represented that ABC Realty had paid $151,842 to

its employees.



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        53. The government’s investigation has revealed that ABC

Realty’s PPP loan application contained materially false and

misleading statements, including, but not limited to, that ABC

Realty PPP had 8 employees.      It also falsely certified that, on

February 15, 2020, ABC Realty was in operation and had employees

for whom it paid salaries and payroll taxes or paid independent

contractors.    I reviewed records provided by the CA EDD and

learned that there were no records of ABC Realty having any

employees, for the period January 2019 to October 5, 2020.

        54. In addition, the IRS Forms 940 and 941 submitted with

the ABC Realty PPP loan application to Lender 4 appear to be

fraudulent.    All of the figures reported in the ABC Realty Form

940 for 2019 and Form 941 for the first quarter of 2020 were

identical to those reported in the fake IRS Forms 940 and 941

that DADYAN submitted to Lender 2 in support of Secureline

Realty’s PPP loan application.      In addition, records from the

IRS confirm that these returns had not been filed with the IRS.

In fact, ABC Realty had not filed employment tax or federal

income tax returns with the IRS in 2019 or 2020.

        55. The representation that DADYAN was not the owner of

any other business and did not manage any other business, was

also false and misleading because, as explained above in

paragraph 38, she owned and/or controlled at least two other

businesses.

        56. Based on my review of records provided by Lender 4, I

know that it approved ABC Realty’s application and funded the

loan.    On or about May 4, 2020, Lender 4 transferred via


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interstate wire $117,938 to Financial Institution 2 account

ending 2061 in the name of ABC Realty.        I know that DADYAN is

the sole signatory.     At the time Lender 4 transferred the

fraudulently obtained PPP loan proceeds, Financial Institution 2

account ending 2061 had only $615.25 on deposit.         Approximately

$80,000 of the funds were used to pay large checks made out to

individuals and companies believed to be involved in the

conspiracy.



                                 * * * *

      57. Based on the above information, there is probable

cause to believe that A. AYVAZYAN and DADYAN together, and with

others known and unknown, knowingly combined, conspired,

confederated, and agreed to submit, and caused to be submitted,

fraudulent loan applications to various financial institutions

and the SBA, seeking funds through the PPP and EIDL programs,

and improperly used those funds for their own personal benefit

rather than for the business expenses for which the loan

applications certified they would be used.

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                             V. CONCLUSION
     58. For all the reasons described above, there is probable

cause to believe that A. AYVAZYAN and DADYAN violated 18 U.S.C.

§ 1349 (Conspiracy to Commit Bank and Wire Fraud).



                                          /s/ Justin Palmerton
                                         Justin Palmerton
                                         Special Agent
                                         Federal Bureau of
                                         Investigation

Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
                   3rd day of
telephone on this __th
November, 2020.



HONORABLE ALKA SAGAR
UNITED STATES MAGISTRATE JUDGE




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